      Case 21-51183-tnw      Doc 37 Filed 03/03/22 Entered 03/03/22 10:31:50           Desc Main
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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF KENTUCKY
                              THE HONORABLE Gregory R. Schaaf




     IN RE:                                                             CASE NUMBER 21-51183
       Carl Everett Boyd and Rozenna Wallace Boyd


                      U.S. BANKRUPTCY JUDGE'S MINUTES OF HEARING

     DATE: 03/03/2022                                                                 TIME: 09:30

     ISSUE:
      25 01/25/2022        Order Continuing Confirmation Hearing. Confirmation hearing to be held
                           on 3/3/2022 at 09:30 AM at Lexington Courtroom, Ch. 13. (kay)

     DISPOSITION:
      PC




______________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge
and electronically entered by the Clerk in the official record of this case.



                                                   Signed By:
                                                   Gregory R. Schaaf
                                                   Bankruptcy Judge
                                                   Dated: Thursday, March 3, 2022
                                                   (rah)
